


  Order reversed, with costs in this court and in the Appellate Division, and the order of Special Term reinstated. Petitioner, by virtue of having converted and leased 60% of its building as business space, having timely made application for certificates of decontrol, having obtained a certificate of occupancy, and having instituted this proceeding, had a. right
  
   “
  
  accruing ” within the meaning of section 93 of the General Construction Law
  
   (Cameron
  
  v.
  
   New York &amp; Mount Vernon Water Co.,
  
  133 N. Y. 336, 341).
 

  Concur: Chief Judge Desmond and Judges Dye, Fuld, Van Voorhis, Burke, Scileppi and Bergan.
 
